

People v D.R. (2024 NY Slip Op 01993)





People v D.R.


2024 NY Slip Op 01993


Decided on April 11, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 11, 2024

Before: Manzanet-Daniels, J.P., Gesmer, Shulman, Higgitt, Rosado, JJ. 


Ind No. 2870/16 Appeal No. 2037 Case No. 2018-1907 

[*1]The People of the State of New York, Respondent,
vD.R., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Kristina Schwarz of counsel), for appellant.



Judgment, Supreme Court, Bronx County (William Mogulescu, J.), rendered June 27, 2017, convicting defendant, upon his plea of guilty, of burglary in the second degree and bribery in the third degree, adjudicating him a youthful offender, and sentencing him to an aggregate term of four years' probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and crime victim assistance fee imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and crime victim assistance fee imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 11, 2024








